






	










NUMBER 13-08-00024-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										


GREGORIO CANTU A/K/A GREGORIO NUNEZ,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.


____________________________________________________________


On appeal from the 319th District Court of Nueces County, Texas.


____________________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides 


Memorandum Opinion Per Curiam



	Appellant, Gregorio Cantu a/k/a Gregorio Nunez, by and through his attorney, has
filed a motion to dismiss his appeal because he no longer desires to prosecute it.  See Tex.
R. App. P. 42.2(a).  Without passing on the merits of the case, we grant the motion to
dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal. 
Having dismissed the appeal at appellant's request, no motion for rehearing will be
entertained, and our mandate will issue forthwith.

								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and filed

this 14th day of February, 2008.


